                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - FLINT

IN RE:

         CYNTHIA J. BORBI,                                       Case No. 10-31247-dof
                                                                 Chapter 7 Proceeding
            Debtor.                                              Hon. Daniel S. Opperman
_____________________________________/

             Opinion Regarding Trustee’s Objection to Debtor’s Claim of Exemptions

         The issue before the Court involves ten $1,000 money orders held by the Debtor, Cynthia

Borbi, that constitute the remainder of a $25,000 life insurance payment made after the suicide of

the Debtor’s husband. The Debtor did not disclose the receipt of the $25,000 in her Statement of

Financial Affairs and did not disclose the money orders in her Schedules or Statement of Financial

Affairs. Although the Debtor filed her Bankruptcy Petition on March 9, 2010, approximately six

months after she received the $25,000, the Debtor neglected to list this asset either in her Schedules

or Statement of Financial Affairs.

         At the first meeting of creditors held on April 26, 2010, the Debtor initially testified upon

examination by her counsel:

         BY MS. SELLIS:

Q. Cynthia, I’m going to show you your bankruptcy petition and here on page 3 is that your
signature?
A. Yes.
Q. And are you familiar with the information in the schedules that we filed?
A. Yes.
Q. Was that information correct when it was filed?
A. Yes.
Q. And is it still correct to your knowledge today?
A. Yes.
       MS. SELLIS: I have nothing further.

(Tr., Page 3, Lines 20 - 25; Page 4, Lines 1 - 6).


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       Upon examination by the Trustee, the Debtor testified as follows:

Q. Are you currently married? Because your schedules say you are single. Are you married?
A. He died.
Q. Okay. And ma’am, how long ago?
A. (No audible response.)
Q. Okay. So - - all right.

(Tr., Page 4, Lines 22 - 25; Page 5, Lines 1 - 2).

       Subsequently, after some inquiry about the Debtor’s husband’s estate, the topic of insurance
proceeds came up.

Q. Okay. Ma’am, did you receive any life insurance?
A. Yes.
Q. And how much did you receive?
A. 25,000
Q. And did you pay any creditors with that money?
A. Just work. (Indiscernible) money.
Q. I’m sorry, just work. I don’t understand.
A. Oh. They lent me money to have him buried because I had nothing.
Q. Okay.
A. (Indiscernible)
Q. (Interrupting). The $25,000 you received in life insurance, what happened to that money?
A. I still have some of it.
Q. Where do you have it? In your bank account?
A. No.
Q. Where is the money?
A. It’s in checks, like money orders.
Q. And how much do you currently have?
A. 10,000.
Q. And ma’am, why didn’t you disclose that money on your schedules?
A. I was told I didn’t have to. I asked.
Q. Oh, and who told you - -
A. I’m not an attorney.
Q. - - who told you you didn’t have to?
A. They said that - -
Q. Who told you you didn’t have to disclose it was my question?
A. I believe it was Tom Padgett, but - -
Q. Okay. Here’s what we need to do. We’re adjourning this case. And ma’am, you’ll need to bring
in the money orders. I’m adjourning it to next Monday. You don’t have any other exemptions
available. So we’ll see you back next Monday, that’s May 3rd, at eleven o’clock. And we’ll
continue.

(Tr., Page 6, Lines 15 - 25; Page 7, Lines 1 - 24).


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        Two days later, on April 28, 2010, the Debtor amended her exemptions to include the life

insurance proceeds described at the first meeting of creditors. The Trustee timely objected to these

exemptions and the Court conducted an evidentiary hearing on August 24, 2010.

        On August 24, 2010, the Debtor testified about her marriage with her husband and the

difficult financial situation they found themselves in over the last few years. The Debtor’s husband

shot himself and left a note blaming the Debtor for many of the couple’s financial woes. At both

the first meeting of creditors and the evidentiary hearing, the Debtor testified that her employer lent

her some money to cremate her husband. The Debtor also testified that she returned to work

approximately one week after her husband’s death. The Debtor testified that she received the

$25,000, but was afraid to put the money into an account because of the number of creditors that she

had, as well as those of her husband. Instead, the Debtor cashed the life insurance check and

received 25 money orders in the amount of $1,000 each. In turn, she then repaid her employer and

paid other debts, including fees for her attorney in this case, as well as $5,000 for an attorney for her

husband’s estate.

        At the August 24, 2010, evidentiary hearing, the Debtor testified that she is an account

manager for Schaeffer Screw Products and is responsible for the payment of bills and preparing

financial reports for the accountant of her employer. As part of her duties, she monitors the bank

accounts of her employer and insures there are sufficient funds to pay payroll obligations, taxes, and

insurance. In that regard, the Debtor testified that she does, from time to time, tell her immediate

supervisors that her employer does not have sufficient monies to pay other bills even though there

is sufficient money in the account to pay those bills because she has been instructed to set aside

sufficient monies to pay the payroll, taxes, and insurance.




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       The Debtor testified that she was very confused and disoriented from August, 2009, through

the filing of her bankruptcy. From the Debtor’s appearance in August, 2010, the Court concludes

that some, if not all, of that confusion still remains. From the Debtor’s appearance, her answers to

questions, as well as responsive behavior in Court, the Court concludes that the Debtor is one of the

more unique individual witnesses encountered by the Court.

       As seen from the Debtor’s testimony at her first meeting of creditors, it originally appeared

that the Debtor blamed her counsel for the failure to list the checks or the life insurance proceeds.

At a previous hearing, the Debtor, through counsel, recanted that position and that position was not

taken at the August 24, 2010, evidentiary hearing. Instead, the Debtor at the evidentiary hearing

blamed her husband’s suicide, as well as her general confusion and the press of other matters for the

failure to disclose the remaining life insurance proceeds. In particular, it appears that the Debtor

also attributed her failure to disclose these checks on her bankruptcy Schedules and documents to

her employer’s instructions to her to not disclose monies that may be available to pay bills in the

course of her employment. In this regard, the Debtor stated that she knew the checks were available,

but that she did not disclose them because she needed this money for other bills, including her

income taxes which may run anywhere from $6,000 to $8,000 for 2009, as well as her moving

expenses.

       At the August 24, 2010, hearing, Debtor’s counsel requested time to procure an audio copy

of the April 26, 2010, first meeting of creditors hearing. The Court granted counsel’s request and

set September 30, 2010, as the deadline for producing this copy. Counsel for the Debtor advised the

Court that the audio copy was ordered, but unavailable as of September 30, 2010. The Court

informally extended the deadline for the production of the audio version of the first meeting of

creditors. The Court has since received the compact disc of the first meeting of creditors and has


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listened to the responses of the Debtor to the questions asked of her on April 26, 2010.

       Initially, the Court notes that the transcriber has accurately transcribed the first meeting of

creditors. The Court, after listening to the April 26, 2010, audio version of the first meeting of

creditors and observing the Debtor on August 24, 2010, reaches certain conclusions about the

Debtor’s credibility in the analysis portion of this Opinion.

                                             Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157 and 28 U.S.C. §

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B).

                                              Analysis

       Schedules may be amended under Federal Rule of Bankruptcy Procedure 1009(a). In the

Sixth Circuit, amendments are allowed any time before a case is closed unless the debtor acts in bad

faith or property has been concealed. Lucius v. McLemore, 741 F.2d 125, 127 (6th Cir. 1984).

Lucius requires this Court to determine whether the Debtor acted in bad faith or attempted to conceal

property of the estate.

       In this case, the Debtor received $25,000 from her husband’s life insurance. Upon receipt,

she paid some creditors and placed the remainder of the proceeds in money orders in $1,000

increments. She has given various reasons for doing this: to set aside money to pay taxes, to have

money to pay bills, and for no particular reason. While any of these reasons may be true, none

explain why the life insurance proceeds or the remaining money orders were not disclosed in the

Schedules or Statement of Financial Affairs. No reasonable explanation is given why the Debtor

reaffirmed the correctness of the incorrect Schedules at the beginning of the April 26, 2010, first

meeting of creditors. While the Debtor did disclose the life insurance proceeds and the remaining

money orders later at the first meeting of creditors, she did so only after questioning by the Trustee,


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and then did so with an explanation that her attorney told her she did not need to disclose these

assets, a position later recanted by the Debtor at the August 24, 2010, hearing.

        The Court acknowledges the very difficult life of the Debtor and the resulting impact this

life had had on her mental state. The Court has fully considered this aspect of this case in reaching

its conclusion that the Debtor concealed the life insurance proceeds and money orders. None of the

Debtor’s explanations are consistent and none completely or sufficiently explain why the Debtor did

not disclose these assets. Although the Court believes the Debtor was mentally distraught and

distracted, she had ample opportunities to disclose these assets. Also of note to the Court was the

Debtor’s decision to place the remainder of the life insurance proceeds in money orders that are

admittedly difficult to trace.

        Finally, if the Debtor kept these money orders to pay her taxes, this can be done in the

administration of her Chapter 7 estate.

        The Court concludes the life insurance proceeds and remaining money orders were concealed

by the Debtor. Applying the Lucius lesson, the Debtor’s amended exemptions are not allowed. The

Trustee’s objections are sustained.

        The Trustee is directed to submit an order consistent with this Opinion.

cc:     Stephen Spence
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Signed on January 21, 2011
                                                          /s/ Daniel S. Opperman
                                                        Daniel S. Opperman
                                                        United States Bankruptcy Judge




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